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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                 )
CENTER FOR BIOLOGICAL DIVERSITY,                 )
                                                 )
                Plaintiff,                       )
                                                 )
       v.                                        )   No. 1:21-cv-884-EGS
                                                 )
UNITED STATES FISH AND WILDLIFE                  )
SERVICE, et al.,                                 )
                                                 )
                Defendants.                      )
                                                 )

                             JOINT STATUS REPORT AND
                       THIRD JOINT MOTION TO CONTINUE STAY

       Pursuant to the Court’s minute order dated February 14, 2022 (“Order”), Plaintiff Center

for Biological Diversity and Defendants United States Fish and Wildlife Service (“FWS”); Debra

Haaland, in her official capacity as Secretary of the United States Department of Interior; and

Martha Williams, in her official capacity as Principal Deputy Director of FWS, (collectively,

“Defendants”) submit the following report informing the Court as to the status of the parties’

mediation discussions. In addition, the parties jointly move the Court to continue the current

stay until March 11, 2022, to provide the parties additional time to confer regarding a proposed

schedule for further proceedings in this case, which the parties will submit to the Court by that

date. Accordingly, the parties submit as follows:

       1.       On April 1, 2021, Plaintiff filed its Complaint, see Docket (“Dkt.”) 1, alleging

violations of the Endangered Species Act (“ESA”), see 16 U.S.C. §§ 1531-44, with respect to

multiple species.

       2.       On July 22, 2021, the parties jointly moved the Court to refer the above-captioned

case and two additional cases filed by Plaintiff against Defendants (Ctr. for Biological Diversity
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v. Haaland, No. 1:20-cv-00573-EGS (D.D.C.); and Ctr. for Biological Diversity v. FWS, No.

1:21-cv-01045-EGS (D.D.C.)) to the Court’s mediation program to allow the parties to discuss

the possibility of settling one or more of these cases in whole or in part. See Dkt. 20. Further,

the parties jointly moved the Court to stay further proceedings in the three cases for 90 days to

allow the parties to focus on the mediation discussions. Id.

       3.       On August 16, 2021, the Court entered a minute order granting the parties’ joint

motion and referring these three cases to the Court’s mediation program. In addition, the Court

stayed further proceedings in the three cases pending a further order from the Court and directed

the parties to submit a joint status report within 90 days (i.e., November 14, 2021) to update the

Court and, if necessary, provide any proposal for a further stay or further proceedings.

       4.       The parties submitted a joint status report to the Court on November 12, 2021,

and requested that the cases be stayed for a further 90 days to allow the parties to continue

mediation discussions. On November 19, 2021, the Court issued an order granting the joint

motion to continue the stay and ordered the parties to file a joint report and recommendation for

further proceedings by no later than February 12, 2022.

       5.       The parties subsequently submitted another joint status report to the Court on

February 11, 2022, and requested that the cases be stayed until March 4, 2022, to allow the

parties to continue mediation discussions. On February 14, 2022, the Court issued its Order

granting the joint motion to continue the stay and ordered the parties to file a joint report and

recommendation for further proceedings no later than March 4, 2022.

       6.       During the course of the stay, the parties met multiple times with the court-

appointed mediator and each other to discuss the possibility of resolving some or all of Plaintiff’s

claims without further litigation. As a result of those discussions, the parties were able to settle




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Plaintiff’s claims regarding one species (Dixie Valley toad) at issue in Ctr. For Biological

Diversity v. Haaland, No. 1:20-cv-00573-EGS (D.D.C.), and have reached an agreement in

principle to settle Plaintiff’s claims as to a small subset of additional species.

       7.       The parties, however, were not able to reach an agreement regarding the majority

of Plaintiff’s claims and do not believe that further mediation discussions will be productive. As

a result, the parties met and conferred on February 28, 2022, regarding a schedule for all three

cases going forward. The parties are diligently working through the particulars but require

additional time to confer and propose a schedule for this case going forward.

       8.       Therefore, the parties respectfully request that this Court continue the stay in the

case for an additional week so the parties can meet and confer regarding a recommended

schedule for further proceedings, and allow the parties to submit a recommended schedule for

further proceedings no later than March 11, 2022.

Dated: March 4, 2022                             Respectfully submitted,


/s/ Ryan Shannon                                 TODD KIM, Assistant Attorney General
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